           Case 3:08-cr-00087-LRH-WGC                Document 48       Filed 12/10/09    Page 1 of 5
AO 2458 (Rev.09/08)JudgmentinaCriminalCase
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                                         UNITED STATESDISTRICT COURT                        liEnEn     (IIILT     / r
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                                                 DISTRICT OF N EV A DA                                            qrqTIES(;FhEugg:g
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                                                                                                                 J.. -7
                                                                                                                            I
UNITED STATESOFAMERICA                       JUDGM ENT IN A CRIM INAL CAS                        ggg 1g zggg j
TREVOR BLACK
            vs.
                                             CASE NUM BER:     3;08-cr-87-L1tH(     )
                                                                                          J                                 .
                                             usv xuv ss..,     4:'l4c-(','s               cL.F(a ?.'kî
                                                                                               )1L'ê#.
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                                                                                                     1t;rOFj:Lv'
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                                                                                                                      ...
                                                                                   By:           - .     .
                                                                                                                  '
                                                                                                                  .         g;Ery.
                                                                                                                                 ry
                                             Glynn Cartledee                                                          --
TH E DEFENDANT:                              DEFENDANT'SATTORNEY

(./') pled guiltyto Count1oftheSupersedin/lnformation          -         .-
( ) plednolocontenderetocountts)                                          which wasacceptedbythecourt.
( ) wasfound guiltyoncountts)                                              afterapleaofnotguilty.

Thedefendantisadjudicatedguiltyeftheseoffensets);
                                                                              D ate
Title & Section                   Naturc ofO ffense                           OffenseEnded                        Count

18 U.S.C.1151,1l53 and            Burglav                                     M ay l9,2008
N.R.S.205.060




         Thedefendantissentencedasprovidedinpages2through 5 ofthisjudgment.Thesentenceisimposedpursuant
to the SentencingReform Actofl984.

( ) Thedefendanthasbeenfoundnotguilty on countts)
(J4 Allremaininecounts aredismissed onthemotion oftheUnited States.
       IT IS ORDERED thatthedefendantmustnotify the United StatesAttorrtey forthisdistrictwithin 30 daysofany
change ofnam e,residence,orm ailing addressuntila1lfines,restitution,costs,and specialassessmentsim posed by this
judgmentarefullypaid. lfordered to payrestitution,thedefendantmustnotifjzthe coul.
                                                                                 tandUnited Statesattorney of
matezialcbangesin econom ic circumstances.

                                                               DECEM BER 8.2009
                                                               Date oflmposition ofJudgm ent




                                                               Slbmature ofJudge

                                                               LARRY R.H ICK S
                                                               U .S.DISTRICT JUDG E
                                                               Nam eand Title ofJudge

                                                                   ?>/6 /o4
                                                               Ilate
           Case 3:08-cr-00087-LRH-WGC             Document 48         Filed 12/10/09     Page 2 of 5
AO 2458 (Rm,
           ,09703)JudgmenlirlaCriminalCase
         Sheet2 -lmprisonment
DEFEN DAN T:              TREVOR BLA CK                                                         Judgm ent-Page 2
CASE NLJM BER:            3:08-cr-87-LRH(RAM )
                                                 IM PR ISO N M EN T

        Thedefendantishereby com m ittedtothecustodyoftheUnited StatesBureau ofPrisonsto beimprisoned foratotal
term of:TW EN TY EIGHT (28)M ONTHS.with creditfortim e served




(/4 ThecourtmakesthefollowingrecommendationstotheBureau ofPrisons:
        lncareeration in institution designed fortreatm entofdl'
                                                               ug and alcoholabuse.Recom m end placem entin residential
         dnzg and alcoholprogram .




         The defendantisrem anded to the custody oftheUnited StatesM arshal.

   )     Thedefendam shallsurrendertotheUnited StatesM arshalforthisdistrict:
         ( ) at                  a.m./p.m.on
         ( ) asnotifiedbytheUnitedStatesM arshal.
()       Thedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedby theBureauofPrisons:
         ( ) before2 p.m.on
         ( ) asnotifiedbytheUnited StatesM arshal.
         ( ) asnotifiedbytheProbationofPretrialSenricesOffice.
                                                     R ETUR N

lhaveexecutedthisjudgmentasfollows:




         Defendantdelivered on                                  to
at                                                                          ,withacertifiedcopyofthisjudgment.

                                                               UNITED STATES M ARSHAL

                                                               BY :
                                                                       Deputy United StatesM arshal
           Case 3:08-cr-00087-LRH-WGC                    Document 48           Filed 12/10/09         Page 3 of 5
AO 2458 (Rev09/08)JudgmentinaCrimlnalCase
         Sheet3-Supervised Release
DEFENDANT:                TREVOR BLACK                                                                       Judgm ent-Page 3
CASE M JM BER:            3:08-cr-87-LR14(RAM )
                                                  SU PER VISE D R ELEA SE

        Upcm release from impriscmm ent,thedefendantshallbeon supervised release fora term ofTHREE f3)YE-AR S

       The defendantmustreportto the probation officein the districttowhich the defendantisreleased within 72 hours
ofreleasefrom the custody oftheBureau ofPrisons.

Thedefendantshallnotcomm itanotherfederal state orlocalcrim e.

The defendantshallnotunlawfully possessa controlled substance. The defendantshallrefrain from anyunlawfuluseofa
controlled substance.The defendantshallsubm itto one drug testwithin 15 daysofrelease from imprisonm entand atleast
two periodic drug teststhereaher,notto exceed 104 drug testsannually. Revocation ism andatory forrefusalto comply.

        Theabovedrugtesting conditionissuspended,basedonthecourt'sdetenuinationthatthedefendantposesa 1ow risk
        offuturesubstanceabuse.(Check,ifapplicable.)
        Thedefendantshallnotpossessafirearm,anununition,destructivedeviee,oranyotherdangerousweapon.(Check,
    ifapplicable.)
(V) Thedefendantshallcooperatein thecollection ofDNA asdirectedbytheprobationoffice.(Check,ifapplicable.)
( ) ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(42U.S.C.
    j l6901,c/.b'eq.)Asdirectedbytheprobationofiice,theBlzreauofPrisons,orany statesex offenderregistration
        agency in which he orshe resides.,works,isa student,orwas convicted ofa quaiifying offense. (Check,if
        applicabie.)
(       Thedefendantshallparticipatein anapprovedprogram fordomesticviolence.(Check,ifapplicable.)
       lfthisjudgmentimposesa fine orarestitution,itisacondition ofsupervised releasethatthedefendantpay in
accordancewiththeScheduleofPalrmentssheetofthisjudgment.
        The defendantm ustcom ply w ith the standard conditionsthathavebeen adopted by thiscourtaswellasw ith any
additionalconditionson the attachedpage.

                                      STAND           CO NDITIONS OF SUPERVISION

        thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationoflice'
         thedefendantshallreportlotheprobationofficeandshallsubm itatruthtklandcom pletewrittenreportwithintheiirstfivedaysofeacbmonth'
         thedetkndantshallanswert ruthfully allinquiriesbytheprobation ofiicc and folkow the instructionsoftheprobaticm ofrice'
         thedcfendantshallsupporthisorherdcpendantsand meetetherfamily resptmsibilities'
         thedefendantshallwork regularly atalawfuloccupation unlessexcused bytheprobation office forschooling training orotheracceptablc
         rcasonS,'
         the defendantshalinotify theprobation ofticeatleastten dayspriorto anychangeinresidenceorempioyment'    ,
         thedefendantshallrefrainfrom excessivcuseofalcoholand shallnotpurchase possess,use,distributeoradministerany controlledsubstance
         orany'paraphernaliarelated to any controlled substances exctptaspresclibcd by a physician'
         the defendantshallnotfrequentplaeeswheretontrolled substancesareillegally sold used distributed oradministered'
         thedefendantshallnotassociatewitb anypersonsengaged in criminalactivity and shallnotassociatewith anyperson convietedofafelony.
         unlessgranted pennissionto do so bytheprobation office'
          thedefendantshallpermitaprobationoflicetovisithim orheratanytimcathomeorelsewhereandshallpermitconfiscationofanycontraband
          observed in plain view oftheprobation office'
         thedefendantshallnotify thcprobation ofiicewithin seventy-two hoursofbeing arrested orquestioned by a Iaw enfbrcementoffice'
          thedefendantshallnotenterinto any agreemcntto actasan informeroraspecialagentofalaw enforcementagency withoutthepermission
          ofthecourt;and
          asdirected bytheprobationoflsce thedefendantshallnotifythirdpartiesoflisksthatmay beoccasioned by thedefendant'scriminalrecord
          orpersonalhistoryorcharacteristics andshallpermittheprobationofficetomakesuchnotificationsandtoconfirm thedefendant'scompliance
          with such ntatificatitm rcquirement.
          Case 3:08-cr-00087-LRH-WGC             Document 48        Filed 12/10/09      Page 4 of 5
AO 2458 (Rev.09/08)Jud!mentinaCrimmalCase
         Sheet3-Supervlsed Release
DEFEND ANT:               TREV OR BLACK                                                        Judgm ent-Page 4
CASE NUM BER:             3:08-cr-87-LRH(RAM )
                                     SPECIAL CO NDITION S OF SUPERVISIO N

        Possession ofW eaoon -The defendantshallnotpossess,haveunderhis/hercontrol,orhaveaccessto any firearm,
        explosivedevice,orotherdangerousw eapons,asdefined by federal stateorlocallaw .

2.      W arrantlessSearch -Thedefendantshallsubmithis/herperson,property,residence,placeofbusinessand vehicle
        underhis/hercontrolto asearch,conducted bytheUnited Statesprobation ofticeorany authorized person underthe
        im mediateandpersonalsupervision oftheprobation office,ata reasonable tim eand in areasonablem anner,based
        upon reasonablesuspieion ofcontraband orevidenceofaviolation ofacondition ofsupervision.Failureto submit
        to asearch may begroundsforrevocation.The defendantshallinfonn anyotherresidentsthattheprem isesmay be
        subjecttoasearchpursuanttothiscondition.
3.      Substance Abuse Treatm ent -The defendant shallparticipate in and suceessfully complete a substance abuse
        treatment and/or cognitive based life skills program ,which willinclude drug/alcoholtesting and outpatient
        counseling,asapproved and directed by theprobation oftice.You shallrefrain from theuseandpossession ofbeer,
        w ine,liquorand otherform sofintoxicantswhileparticipating in substance abusetreatment.Further,thedefendant
        shallberequired tocontributeto thecostsofservicesforsuch treatm ent,asapproved and directedby theprobation
        office,based upon his/herability to pay.

        AlcoholAbstinence -Defendantshallrefrain from theuse and possession ofbeer,wine,liquorand otherforrnsof
        intoxicants.

5.      Restitution Obliuation-Thedefendantshallm akerestitutionin theamountofFIVE THOU SAND 01%E HUNDRED
        NINETY FIVE and 42/l00thsDOLLARS ($5,195.42),pursuantto apalrmentscheduleto bedetermined bythe
        probation oftice.

6.      M entalH ea1th Treatm ent-The defendantshallparticipatein and successfully com pletea m entalhealth treatnzent
        program ,which may includetesting,evaluation,and outpatientcounselingasapprovedanddirectedbytheprobation
        office. You shallrefrain from the use and possession ofbeer,wine,liquorand otherfonns ofintoxicants while
        participatinginm entalhealth treatm ent.Further,thedefendantshallberequiredto contributetothecostsofservices
        forsuch treatm ent,asapproved and directed by theprobation oftice,based upon his/herability to pay.

        No ContactCondition -Thedefendantshallnothavecontact,directly orindirectly,associatewith,orbew ithin 500
        feetofthe victim in this case,lais/her residence orbusiness,and ifconfronted by him /herin a public place,the
        defendantshallirnm ediately rem ove himselffrom the area.
           Case 3:08-cr-00087-LRH-WGC                      Document 48     Filed 12/10/09   Page 5 of 5
AO 2458 (Rev09/08)JudgmentinaCriminalCase
         Sheet5-CriminalM onetaryPenalties
DEFEN DANT:               TREV OR BLACK                                                          Judgm ent-Page 5
CASE NUM BER:             3:08-cr-87-LRH(RAM )
                                             CIU M IN AL M O N ET AR Y PEN A LTIE S

        The detkndantmustpay thetotalcrim inalm onetary penaltiesundertheschedule ofpaymentson Sheet6.

                                    Assessm ent                     Fine                       Restitution

        Totals:                     $100.00                         $                          $5,195.42
                                    Due and payable inunediately.

        On m otion by the Governm ent,IT IS ORDERED thatthe specialassessm entim posed by the Courtisrem itted.

()      Thedetermination ofrestitution isdeferreduntil                          .An AmendedJudpnentinaCriminalCase
        (AO 245C)willbeentered aftersuchdetermination.
        Thedefendantshallmakerestitution(includingconununityrestitution)tothefollowingpayeesintheamountlisted
        below .

        lfthedefendantm akesa partialpayment,each payee shallreceive an approxim ately proportioned paym ent,unless
        specifiedothenvisein thepriorityorderorpercentagepaymentcolumn below.However,pursuantto 18U.S.C.j
        3664(1),al1nonfederalvictirnsmustbepaidbeforetheUnitedStatesispaid.
N ame ofPavee                                  TotalLoss            Restitution Ordered         Priority ofPercentaze

Clerk,U.S.DistrictCourt
Attn:FinancialO ffice
CaseNo.3:08-cr-87-LRH(RAM )
333 LasV egasBoulevard,South
LasVegas,INIV 89101

TOTALS                                         $5.195.42            $5.195.42


Restitution am ountordered pursuantto pleaagreem ent: S

The defendantmustpay intereston restitution and a fine ofm ore than $2,500 unlessthe restitution ortine ispaid in full
beforethefifteenthday afterthedateofjudgment,pursuantto l8U.S.
                                                             C .j3612(9.AllofthepaymentoptionsonSheet6
maybesubjecttopenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).
The couz'tdeterznined thatthedefendantdoesnothave theability to pay interestand itis ordered that:

         theinterestrequirem entiswaived forthe: ( )fi
                                                     ne ( )restitution.
         theinterestrequirementforthe: ( )tine ( )restitution ismodifiedasfollows:




*lrindingsforthetotalamountoflossesare required underChapters109A,ll0,1IOA,and ll3.
                                                                                  * ofTitle 18 foroffenses
comm itted on orafterSeptem ber 13,1994 butbeforeApril23,1996.
